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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 JUDITH GODINEZ, Individually and                            Civil Action No. 1:16-cv-10766 (PBS)
 on Behalf of All Others Similarly
 Situated,

                                             Plaintiffs,
                           v.

 ALERE INC., et al.,

                                          Defendants.



                                    JOINT STATUS REPORT

        Pursuant to the Court’s September 4, 2018 Order (ECF No. 247), which granted the parties’

Joint Motion to Stay Proceedings (ECF No. 246), and further pursuant to the Parties’ November

29, 2018 Joint Status Report (ECF No. 252), the parties hereby report to the Court regarding the

status of their efforts to finalize the settlement papers.

        Since filing their last Joint Status Report, the parties have made significant further progress

toward finalizing the settlement papers, are actively engaged in cooperative and productive

telephonic and e-mail discussions, and have exchanged further revised drafts of a stipulation of

settlement, notice of settlement, short form notice of settlement, proposed order preliminarily

approving the settlement, and proposed judgment. The parties are aiming to finalize the settlement

documents by January 14, 2019, but in any event no later than January 31, 2019.

        After the parties enter a definitive stipulation of settlement, Lead Plaintiffs will promptly

move for preliminary approval of the settlement and certification of a class for settlement purposes

only.
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Dated: January 3, 2019              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”)

on this January 3, 2019.


                                                      /s/ Adam M. Stewart
                                                      Adam M. Stewart




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